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                                UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      PORTLAND DIVISION


    INDEX NEWSPAPERS LLC, a Washington
    limited-liability company, dba PORTLAND
    MERCURY; DOUG BROWN; BRIAN
    CONLEY; MATHIEU LEWIS-                                3:20-cv-1035-SI
    ROLLAND; KAT MAHONEY; SERGIO
    OLMOS; JOHN RUDOFF; ALEX MILAN                        DECLARATION OF CRAIG DOBSON
    TRACY; TUCK WOODSTOCK; JUSTIN
    YAU; and those similarly situated,                    (In Support of Defendant City of Portland’s
                                                          FRCP 12(b)(1) and 12(b)(6) Partial Motion
                  Plaintiffs,                             to Dismiss)
           v.

    CITY OF PORTLAND, a municipal
    corporation; JOHN DOES 1-60, officers of
    Portland Police Bureau and other agencies
    working in concert; and JOHN DOES 61-200,
    federal agents,

                  Defendants.




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    I, Commander Craig Dobson, declare as follows:

              1.      I am employed by the City of Portland as a Commander in the Portland Police

    Bureau (“PPB” or “the Bureau”). I have been a police officer for the City of Portland since 1998.

    Currently, in addition to my role as Commander, I am also frequently in the role of Incident

    Commander for crowd management/crowd control occurrences that take place within the City.

              2.      In making this declaration, I have reviewed and drawn from applicable Force

    Data Collection Reports, data compiled by PPB force auditors, Incident Commander summaries,

    press releases, activity logs, my prior declarations, discussions with other incident commanders,

    and videos. I also base this declaration on my personal experience.

              3.      When “tear gas” is referenced in this declaration it means hand-tossed or launched

    canisters containing CS or OC. PPB tUDLQHGRIILFHUVௗPD\FDUU\ௗ-chlorobenzalmalononitrile “CS

    JDV´ௗ2OHRUHVLQ&DSVLFXP3\URWHFKQLF³2&S\URWHFKQLF,” and “OC vapor.” PPB officers also

    may have deployed UXEEHUEDOOGLVWUDFWLRQGHYLFHVௗ ³5%''V´ ௗFRQWDLQLQJ2&

    May to November 2020

              4.      Beginning on May 28, 2020, through September 6, 2020, there were nightly

    protests in Portland.

              5.      From September 7, 2020, through November 15, 2020, protests continued almost

    every night in Portland, and these protests varied in the size of crowd and police response.

              6.      Beginning November 15, 2020, PPB no longer maintained a nightly incident

    command center because protests had become sporadic.

              7.      PPB officers deployed tear gas on May 29, 30, 31, and June 2, 5, and 6. PPB

    officers did not deploy tear gas again until June 25, 2020.

              8.      From June 25, 2020, to September 28, 2020, PPB used tear gas on seventeen

    nights.

              9.      September 5, 2020, was the last date that PPB officers used CS gas in connection

    with a protest.

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           10.       September 28, 2020, was the last date that PPB officers used any tear gas (OC

    Vapor) in connection with a protest.

    November 15, 2020, to December 31, 2020

           11.       From November through December 31, 2020, protest activity in Portland became

    more sporadic.

           12.       PPB officers did not engage in any crowd management response 1 to protest

    activity from November 15, 2020, until December 31, 2020.2

           13.       On New Year’s Eve 2020, PPB responded to a protest on the night of December

    31, 2020, to January 1, 2021. During this response, PPB declared an unlawful assembly shortly

    before midnight in response to projectiles, including mortars, being thrown at the Justice Center.

    During the response, members of the crowd threw at least two Molotov cocktails at officers, and

    large fireworks were launched at the federal courthouse and the Justice Center. PPB officers did

    deploy force in response, including the use of 40mm and FN303 less lethal launchers and batons.

    January 1, 2021, to March 31, 2021

           14.       From January 1, 2021, to March 31, 2021, protest activity in Portland continued,

    but it was considerably more sporadic and included many fewer participants than during the

    summer of 2020.

           15.       During this three-month period, PPB had a crowd management response to fewer

    than ten protests.

           16.       PPB was aware of many additional protests, but the vast majorities of these

    protests were small and required no police response.

    1
     When used in this declaration, a crowd management response is a public security practice in
    which police respond to crowds to manage them in order to prevent the outbreak of crowd
    crushes, affrays, fights or riots, or in which an assembly, protest or demonstration is dispersed.
    See ORS 181A.708(1)(a) (defining “crowd management”).
    2
      During this period, a protest and occupation of an area around the “Red House” in the area of
    N. Albina Avenue and N. Mississippi Avenue occurred. PPB patrol officers provided assistance
    to Multnomah County Sheriff’s Office deputies in connection with an eviction related to this
    event. PPB did not deploy a crowd management response.
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    April 1, 2021, to June 24, 2021

           17.     In April 2021, there was an uptick in protest activity, but that activity diminished

    through the remainder of the Spring.

           18.     From April 1 to June 30, 2021, PPB engaged in a crowd management response to

    protests on approximately 24 separate occasions. On eight occasions PPB declared a riot or an

    unlawful assembly. Below is a brief description of each of these protests:

           a.      On April 1, 2021, PPB responded to a small gathering of protesters at the ICE

                   facility. Mobile Field Force (MMF) was deployed to create a safe work zone for

                   Portland Fire and Rescue (PFR). PPB did not declare an unlawful assembly, made

                   no arrests, and deployed no munitions. One PPB officer used force during this

                   event.

           b.      On April 9, 2019, PPB responded to a direct action event in Brooklyn Park. A

                   crowd of 20 – 50 people marched through SE Portland for several hours.

                   Individuals broke windows, set small fires, and spray painted some areas. PPB did

                   not declare an unlawful assembly, made no arrests, and used no force.

           c.      On April 10, 2021, protesters gathered at the ICE facility on S. Macadam. MFF

                   was deployed to create a safe work zone for PFR. PPB did not declare an

                   unlawful assembly and made no arrests. A single PPB officer deployed a 40mm

                   munition. 3

           d.      On April 11, 2021, 40 – 50 protesters gathered for a direct action event at the

                   Justice Center. During the evening, the crowd marched through downtown and

                   spray-painted graffiti on the side of the Justice Center. Despite vandalism and

                   property damage, PPB did not declare an unlawful assembly, made no arrests,

                   deployed no munitions, and did not use force.

    3
      In my prior declaration in Wolfe, et al. v. City of Portland, 3:20-cv-01882-SI, I incorrectly
    stated that PPB deployed no munitions. (3:20-cv-01882-SI, ECF 110). In fact, as stated above,
    one 40mm munition was used on April 10, 2021.
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         e.    On April 12, 2021, 100 – 150 protesters gathered in the afternoon in support of

               Daunte Wright, a Minnesota man shot and killed by police. PPB did not declare

               an unlawful assembly, made no arrests, and deployed no munitions.

         f.    On the same day, April 12, 2021, another group of 100 people dressed in full

               black arrived at Laurelhurst Park. These protesters arrived with gas masks and

               individuals identifying as medics. The crowd increased to 200 – 250 people and

               marched from Laurelhurst Park to Penumbra Kelly Building. Upon arrival at

               Penumbra Kelly Building, they took over the street and blocked the east and west

               entrances to the parking lot. Penumbra Kelly Building was occupied with sworn

               and non-sworn personnel. The group moved dumpsters in front of both entrances

               and lit them on fire. The crowd threw large rocks, bricks, frozen water bottles,

               glass bottles, and large mortars at the officers. Numerous announcements were

               made but the crowd continued its attack. Based on the imminent danger to life

               safety, PPB declared an unlawful assembly at 22:07 hours. The crowd made

               another push to the front doors and caused more damage to the building. At 22:22

               hours, PPB declared a riot and moved the crowd to SE 39th Avenue. PPB officers

               used force in response to individual’s behavior, including deploying 40MM less

               lethal rounds and pepper spray.

         g.    On April 13, 2021, approximately 110 protesters gathered at Kenton Park and

               marched to North Precinct. The crowd blocked the streets and began attacking the

               northwest and southwest ends of the buildings. Multiple warnings were given

               from the sound truck not to engage in criminal activity or block the street.

               Protesters then set the plywood vestibule protection attached to the southwest

               doorway on fire. Based on the crowd activity and the fire, I declared a riot and

               ordered the area cleared. Rapid Response Team (RRT) and MFF moved in and

               used no force to clear the crowd. The crowd dispersed and reformed at the ICE

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               facility on S. Macadam. FPS requested assistance because the group escalated its

               behavior including pushing a burning dumpster up to the building. PPB provided

               assistance to FPS. PPB made one arrest for arson and deployed no munitions.

               PPB did not use force at this event.

         h.    On April 16, 2021, an officer involved shooting at Lents Park precipitated a

               spontaneous gathering of 150 – 200 people near the park. Two other protest

               events were previously scheduled for this evening. Approximately 150 – 200

               people gathered at Salmon Springs Fountain. This group marched east over the

               Hawthorne bridge. A separate group of approximately 100 persons began to

               march from Director Park through downtown. This group began to break

               windows and damage property throughout downtown. Based on the damage and

               crowd activity, I declared a riot at 21:49 hours. The crowd continued to move

               throughout downtown with individuals engaging in vandalism. Multiple fires

               were started including a fire in a dumpster and a Porta-potty. PPB made four

               arrests, and PPB officers did use force on some individuals in the crowd at these

               events.

         i.    On April 17, 2021, two protest events were planned in response to the Lents park

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               in the street and in the parking lot. Members of the crowd were wearing body

               armor and helmets and heavy back packs. Several announcements were made

               instructing the crowd not to engage in criminal activity and to not block the two

               garage doors to the precinct and to get out of the street. Members of the crowd

               maneuvered two dumpsters from the park and started to roll them towards the

               garage doors. The crowd was chanting “Burn the building to the ground.” Based

               on the crowd activity and attempt to start a fire, Captain Tim Robinson declared

               an unlawful assembly to disperse the crowd. RRT, Oregon State Police and

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               Multnomah County Sherriff's Office deployed, and the crowd dispersed. PPB

               used no force.

         j.    On April 18, 2021, PPB responded to a small gathering of 50 – 60 people

               downtown. A plastic newspaper box was set on fire near SW 3rd Avenue and SW

               Main St. PPB monitored the crowd. PPB did not declare an unlawful assembly

               and used no force.

         k.    On April 19, 2021, approximately 80 individuals gathered in Woodlawn Park.

               The protestors left the park and marched west through the residential

               neighborhood, blocked traffic, and individuals broke windows of nearby

               businesses. At approximately 21:45 hours, the sound truck announced for the

               crowd to keep streets open to vehicular traffic and provided a reminder of the

               EXUQဨEDQ$GGLWLRQDOly, an admonishment was provided for the crowd to abstain

               from criminal behavior or force may be used. At 21:52 hours the crowd gathered

               west of North Precinct, obstructed all lanes of traffic on NE MLK, and broke

               multiple windows at the Boys and Girls Club. Based on the crowd activity, an

               unlawful assembly was announced and the protesters were directed to disperse

               northbound. The group disregarded the order and marched south, obstructed

               traffic, and continued to smash windows of businesses. PPB made two targeted

               arrests, but used no force.

         l.    On April 20, 2021, PPB responded to protests scheduled in response to the Derick

               Chauvin verdict. People began gathering at 15:29 hours in Chapman Park. By

               20:16 hours, the crowd size had increased to approximately 100 people. At 21:52

               hours, approximately 70 individuals left and marched downtown. Individuals in

               this group broke windows at Starbucks and Pioneer Square. Captain Tim

               Robinson declared an unlawful assembly at 21:56 hours. At 22:01, an individual

               from this group attacked an RRT member. This group eventually dispersed at

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               approximately 23:47 hours. During this time, 40 individuals remained at the

               Justice Center and remained peaceful throughout the evening. PPB made two

               arrests. PPB officers did use force at times during the evening.

         m.    On April 21, 2021, a group of 30 – 40 individuals gathered near the Justice

               Center. Individuals started a fire and spray painted the walls of the Justice Center.

               The group blocked the intersection of SW 2nd Avenue and SW Main St. At

               approximately 22:00 hours, the group marched through downtown and dispersed

               at approximately 22:30 hours. PPB did not declare an unlawful assembly, made

               no arrests, and did not use force.

         n.    On April 22, 2021, a group gathered for a vigil at Pioneer Square to remember

               Ma’Khia Bryant, the victim of the Columbus Ohio officer involved shooting.

               Approximately 100 people gathered in the Square. By 20:30 hours the event

               concluded, and the group left the Square. There were no other protest related

               events in the city. Precinct MFF conducted extra patrol in the downtown area

               before returning to their precincts. PPB did not declare an unlawful assembly,

               made no arrests and did not use force.

         o.    On April 23, 2021, a small group attended a vigil at Lents Park in support of

               Robert Delgado. PPB did not declare an unlawful assembly and made no arrests.

         p.    That evening, on April 23, 2021, a group of approximately 70 individuals

               gathered at Couch Park. The crowd marched through the street, blocked traffic,

               and individuals engaged in property damage. The group confronted patrons inside

               the NW McMenamin’s with a large can of bear spray. A riot was declared at

               21:36 hours and the crowd was given direction to proceed North. PPB made two

               arrests for vandalism, but did not use of force.

         q.    On May 1, 2021, multiple events were scheduled. Most of these events did not

               require a police presence. In the evening, a group gathered at Shemanski Park.

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               Approximately 100 individuals marched from the park and broke several

               windows at various buildings. Based on the crowd activity and property damage,

               Captain Tim Robinson declared an unlawful assembly and eventually declared a

               riot. Two arrests were made of individuals who committed felony level

               vandalism. Officers made several targeted arrests based on probable cause for

               earlier incidents. PPB did deploy force in response to actions by individual

               members of the crowd.

         r.    On May 25, 2021, there were two events scheduled to take place in the City of

               Portland. The first event began at Revolution Hall in SE Portland to the midspan

               of the Burnside Bridge. This event was peaceful. PPB did not declare an unlawful

               assembly, made no arrests, and used no force.

         s.    On the same day, May 25, 2021, a group of approximately 75 individuals

               gathered at Chapman Square and blocked the intersection of SW 3rd Avenue and

               SW Main St. Individuals moved a dumpster next to the Justice Center and set it

               on fire. Individuals threw frozen water bottles and metal pipes at officers. A

               mortar struck the side of the RRT van. Based on the crowd activity and fire,

               Captain Tim Robinson declared an unlawful assembly. The crowd increased to

               200 – 300 individuals and marched to City Hall. Many windows were broken.

               Individuals continued to set fires and engage in acts of vandalism. PPB declared a

               riot. PPB made five arrests, deployed 1-RBDD, 1-FN 303, and 1 Saf-Smoke.

         t.    On May 28, 2021, there were two groups of demonstrators that gathered

               throughout the night. The first group of about 60 - 100 gathered at Revolution

               Hall in SE Portland. The demonstrators made a short march and returned to

               Revolution Hall to watch a movie. There was no criminal activity and no issues

               that required a police response. PPB did not declare an unlawful assembly, made

               no arrests, and did not deploy munitions during this event.

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         u.    On the same night, May 28, 2021, a second group gathered at Terry Schrunk

               Plaza in downtown Portland. PPB made one arrest without use of force. PPB did

               not declare an unlawful assembly and deployed no munitions.

         v.    On June 17, 2021, a group of about 30 individuals gathered for an evening march

               organized by a group seeking “Justice for Patrick Kimmons.” The demonstration

               started at Revolution Hall in SE Portland. A second group gathered at Fields Park

               in the Pearl District. PPB did not declare an unlawful assembly, made no arrests

               and did not use force.

         w.    On June 18, 2021, an event was planned to take place at PPB’s North Precinct. A

               group of approximately 40 individuals gathered and briefly marched. PPB did not

               declare an unlawful assembly, made no arrest, and did not use force.

         x.    On June 24, 2021, a crowd of approximately 75 gathered at the perimeter of an

               officer involved shooting that occurred near the intersection of NE Grand and NE

               Holladay Street earlier that evening. I was not the Incident Commander that night.

               Captain James Crooker was the acting Incident Commander. This event required

               an MFF response from east and Central Precincts to support North Precinct’s

               MFF and protect the crime scene and officers within it as they conducted their

               investigation. The crowd of about 75 individuals grew hostile. The crowd began

               yelling and throwing bottles and rocks at officers and patrol vehicles, ultimately

               hitting an officer in the chest with a rock while on the line attempting to manage

               the crowd. An individual ripped the crime scene tape and attempted to breach the

               area boundary into the crime scene. One officer’s baton was grabbed and was

               being pulled toward the crowd. Other officers intervened and someone from the

               crowd pepper sprayed an officer. At one point during the investigation, a member

               of the crowd who had been antagonizing police had a violent confrontation with

               officers on the line. This resulted in police surging ahead to assist the officer and

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                   regain the crime scene ground. PPB remained on the line as lasers, spotlights, and

                   bullhorns were used over the next several hours. While trying to break down and

                   leave the crime scene, three North Precinct patrol cars were vandalized including

                   slashed tires and windows broken out. PPB used force during the violent

                   confrontation between the crowd and the officer line. PPB declared an unlawful

                   assembly but made no arrests.

    July 1, 2021, to Present

           19.     PPB is aware of well over one hundred protest that occurred from July 1, 2021, to

    November 1, 2022. One protest during this time period, on May 3, 2022, involved a PPB crowd

    management response. PPB did not declare any riots, unlawful assemblies, or civil disturbances,

    but PPB did use its sound truck to announce a riot declared by the Multnomah County Sheriff’s

    Office on November 19, 2021 (discussed below). There were no protests during this period

    where PPB officers used force.

           20.     In July 2021, there were no protest events that required a crowd management

    response from PPB. PPB did not declare any unlawful assemblies or riots during that month. 4

           21.     On August 7, 2021, PPB responded to a gathering of two separate groups of

    protesters that had potential conflict between the two groups. The event appeared to have

    approximately 50-100 participants who moved throughout the City, mostly in the area of

    downtown SW Portland and the Hawthorne Bridge. A couple of clashes between the two groups

    occurred, so PPB deployed its MFF to respond and separate the two groups. Activating MFF was

    a precaution to deal with conflict that could result in serious injuries or where nonparticipating

    persons could be affected. At one point, PPB called multiple cover cars into an area to disperse a

    conflict between the two groups. The two clashes were short in duration and no serious injuries



    4
     On July 29, 2021, PPB officers provided security during an encampment removal at
    Laurelhurst Park. While providing security at this event an individual who was protesting the
    encampment removal was arrested, and three PPB officers used force to effect the arrest.
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    were inflicted on either side to my knowledge. PPB did not declare an unlawful assembly, made

    no arrests, and used no force during this event.

           22.     On August 22, 2021, a right-leaning group had indicated an intent to hold an

    event at Waterfront Park. A left-leaning group indicated an intent to have a counter-protest in

    response. On August 22, the right-leaning group ultimately moved their protest to a Kmart

    parking lot on NE 122nd and NE Sandy Blvd. The left-leaning group held their counter-protests

    downtown. After both protests had begun, some of the left-leaning protesters moved out to NE

    122nd and NE Sandy Blvd. PPB staged officers in the area to address any life or safety situations

    that might arise. There were a number of clashes between the two groups, including damage to

    several vehicles. Back downtown, where some left-leaning protesters had stayed, a shooting

    occurred at SW Yamhill. PPB arrested one of the shooters. Two reporters from a local news

    station reported that they were attacked by left-leaning protesters but were able to leave the area.

    Besides an immediate arrest of the individual shooter, PPB sought to capture livestream video to

    capture individuals engaged in criminal activity.

           23.     From September 2021 through April 2022, there have been protests, but they have

    largely involved smaller crowd sizes, typically below 40 people, with the largest of these events

    being a peaceful high school student protest of approximately 500 people on September 24,

    2021. PPB monitored these events, and at times engaged in a targeted police response to

    particular individuals where there was probable cause to believe that individual was engaged in

    criminal activity. PPB did not engage in any crowd management response to these events. Below

    are examples of the police response on the ground:

           a.      On November 19, 2021, following the verdict in the Kyle Rittenhouse trial, a

                   protest occurred at the Justice Center. The protesters surrounded the precinct by

                   approximately 8:30 p.m., and Multnomah County Sheriff’s Office declared a riot

                   at approximately 9:00 p.m. The riot was declared after some protesters and

                   Multnomah County Sheriff’s deputies clashed while the deputies tried to secure a

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               gate to the building that was malfunctioning. PPB’s sound truck was used to

               announce the riot declaration from Multnomah County Sheriff’s, but PPB officers

               did not otherwise participate in the response to the declared riot. PPB monitored

               the protest, learning that some protesters broke windows at a print shop and a

               garage downtown. PPB officers arrested two individuals. The first arrest was for

               an individual using a laser on the airplane. The second arrest was for an individual

               who fired a ball bearing at cars. This second individual also had a federal arrest

               warrant. PPB officers did not use force at this event.

         b.    On February 20, 2022, there was a scheduled protest. PPB was aware of this event

               but did not deploy a crowd management response. PPB did respond to a 911 call

               because an individual shot into the protest. This was treated as an emergency 911

               response, not a crowd management response.

         c.    On April 16, 2022, a direct action protest was organized at Peninsula Park. The

               group began marching at approximately 9 p.m. Individuals from the march

               engaged in some vandalism at the park and broke windows of some businesses

               along the march. Upon arriving at North Precinct, an individual threw a mortar

               onto the roof of PPB’s North Precinct, which detonated near officers. The group

               continued to march, and some additional buildings were vandalized. Upon

               returning later to North Precinct, a dumpster in the lower parking lot of North

               Precinct was lit on fire with a flare. PPB officers responded to the fire in vehicles

               with lights and sirens, and the group dispersed. PPB was unable to put out the fire,

               and ultimately Portland Fire and Rescue arrived and provided assistance. PPB

               officers did not use any force and no arrests were made at the time of the event.

         d.    On May 1, 2022, two groups of protesters gathered at SW Oak and SW 5th

               Avenue. One of the groups blocked the intersection. PPB deployed its

               demonstration liaison officers and some patrol officers to make contact with the

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                   group blocking the street and ask them to move to the sidewalk to open the street

                   for regular traffic. The group refused to communicate with the officers, but PPB

                   did not engage in any further response. Another march occurred near SE Belmont

                   and SE 25th. There was some minor graffiti during this march and one mortar-

                   type round was let off on ground, but the group dispersed on their own. Some

                   vehicles that dispersed were stopped for having no license plates. During the

                   event, police officers in vehicles were present in and around the area, but there

                   was no crowd management response.

           24.     On May 3, 2022, following release of the draft decision in Dobbs v. Jackson

    Women’s Health Organization, multiple groups organized demonstrations downtown. There

    were multiple instances of vandalism, and one person was arrested for shoving burning materials

    under the wooden courthouse fence. PPB deployed with four MFF units inside patrol vehicles

    along the route that protesters marched. PPB officers did not use force. PPB did not declare an

    unlawful assembly, civil disturbance, or riot at any of these events.

           25.     Since May 3, 2022, PPB deployed patrol resources to have a presence at some of

    these events to identify persons engaged in criminal activity. PPB did not deploy a crowd

    management response for any of these events. PPB did not use force at any of these events. PPB

    did not declare an unlawful assembly, civil disturbance, or riot at any of these events. Below are

    examples:

           a.      On June 24, 2022, there was an anticipated protest in response to the issuance of

                   the Supreme Court’s decision in Dobbs v. Jackson Women’s Health Organization.

                   Several hundred people gathered in Lownsdale Park at approximately 5:00 p.m.

                   and held a peaceful assembly. At approximately 6:30 p.m., the group split with

                   half remaining in the park and the other half beginning a march through

                   downtown and over the Hawthorne Bridge and back. After returning, a couple of

                   hundred individuals remained gathered in Lownsdale Park. At approximately

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                   11:00 p.m. a group of protesters began another march in downtown. PPB had

                   officers available to respond to criminal activity during the march, but none

                   occurred. Just before 1:00 a.m. a small group entered the rotunda of the Justice

                   Center, and they were removed, and PPB locked the doors. PPB did not declare

                   an unlawful assembly, civil disturbance, or riot. PPB did not make any arrests.

                   PPB did not use any force.

           b.      On October 2, 2022, PPB was aware of an event at Pioneer Courthouse Square for

                   Iranian women’s rights. PPB did not monitor or respond in any way to this event.

    Summary

           26.     PPB has not deployed CS gas at a protest since September 5, 2020. PPB has not

    deployed any type of tear gas, whether CS gas or OC gas, at a protest since September 28, 2020.

           27.     PPB has not deployed any kinetic impact projectiles (either FN303 or 40mm) at a

    protest since June 24, 2021.

           28.     PPB has not deployed any handheld OC spray at a protest since June 24, 2021.

           29.     PPB has not deployed any rubber ball distraction devices (“RBDD”) at a protest

    since May 2021. PPB does not currently use RBDDs and is engaged in a process to

    decommission all remaining inventory of RBDDs.

           30.     PPB has not declared an unlawful assembly, civil disturbance, or riot in

    connection with a protest since June 24, 2021. PPB, did, however, use its sound truck on behalf

    of Multnomah County Sheriff’s Office to declare a riot November 19, 2021.

    PPB’s Ongoing Response to Protests

           31.     The Portland Police Bureau, while remaining subject to this Court’s Preliminary

    Injunction regarding journalists and legal observers, has significantly modified its tactics in

    responding to protests in Portland in order to ensure compliance with new Oregon laws and City

    policies, including:



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           a.     ORS 131.675, which is the Oregon law addressing unlawful assemblies, was

                  modified effective January 1, 2022.

           b.     ORS 162.247, which is the Oregon law defining the crime of interfering with a

                  peace officer, was amended effective June 11, 2021.

           c.     ORS 181A.708, was amended effective March 23, 2022, and set forth specific

                  requirements and prohibitions regarding the use of tear gas, kinetic impact

                  projectiles, and handheld OC spray during protests.

           d.     PPB Directive 1010.00, as updated effective November 15, 2022, expressly

                  prohibits any uses of force that are not objectively reasonable under the totality of

                  the circumstances, consistent with Graham v. Connor. PPB Directive 1010.00

                  applies to all uses of force by a PPB officer, including any uses of force in

                  response to a protest. Attached hereto as Exhibit 1, is a copy of PPB Directive

                  1010.00 that will be effective November 15, 2022.

           e.     PPB Directive 635.10 places additional restrictions on the use of force in crowd

                  management / crowd control, beyond the restrictions set forth in Directive

                  1010.00. These additional limitations include certain situations where force that

                  would otherwise be objectively reasonable cannot be used without authorization

                  from the Incident Commander. The reason for this additional restriction is that the

                  use of force, even reasonable force, could have a negative impact on the overall

                  crowd dynamic.

           32.    As a result of these changes in law and directives, PPB has tactically adjusted the

    manner in which it responds to protest events, including the following changes:

                  a.      PPB has ceased using RBDDs at protest events and is currently

                          undertaking a process to destroy its remaining inventory of these

                          munitions.



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                   b.     PPB uses resources to monitor protests and attempt to identify individuals

                          engaged in criminal conduct.

                   c.     PPB deploys small arrest teams to intervene, respond to, and arrest

                          individuals for whom there is probable cause to believe committed a

                          crime.

                   d.     PPB maintains crowd management resources, which could be deployed for

                          extraordinary circumstances where other tactical responses would be

                          unable to address a significant threat to life safety.

           33.     These changed tactics, including prioritizing targeted arrests of individuals

    engaged in criminal activity over a crowd management response have limited interaction

    between PPB officers and protesters and significantly reduced the amount of force deployed.

           34.     I make this declaration in support of Defendant City of Portland’s FRCP 12(b)(1)

    and 12(b)(6) Partial Motion to Dismiss.

           I hereby declare that the above statement is true to the best of my knowledge and

    belief, and that I understand it is made for use as evidence in court and is subject to penalty

    for perjury.
                  11/4/22
           DATED: __________________

                                                    Craig N. Dobson Digitally signed by Craig N. Dobson
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                                                    Craig Dobson




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